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            Case:  4:18-mj-03184-NCC Doc.
                4:18-cr-00975-CDP-JMB
                  4:18-mj-03184-NCC   Doc.#:#:#:10
                                       Doc.      243-2
                                                    Filed: 07/09/18 Filed:
                                                        *SEALED*
                                                           01/18/19        1of2
                                                                             of 16PagelD
                                                                    Page:12/11/18
                                                                           1       PageID
                                                                                    Page:#:#:
                                                                                           115of
                                                                                              2916
                                             PageID #: 116
AO 93 (Rev. I 1/13) Search and Seizure Warrant



                                            UNITED STATES DISTRICT .COURT                                                       flLED
                                                                             for the
                                                              Eastern District of Missouri
                                                                                                                             JUL..- 9 2018
                                                                                                                            U.S. DISTRICTCOURT
                  In the Matter of the Search of                                                                          EASTERN DISTRICT Of MO
                                                                               )                                                  ST.LOUIS
                                                                               )
An HTC-brand cellular phone (model number HTC-OPFHI 00 associated              )       CaseNo. 4:18MJ3 184NCC
with phone number                  and operated by Randy Hays for the
purpose of searching tor evidence of violations of 18 U.S.C. § 241 and 242     )
related to the protests in downtown St. Louis from September 15 through         )
September 17, 2017.                                                             )

                                                  SEARCH AND SEIZURE WARRANT
To:       Any authorized law enforcement officer
         An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the          EASTERN            District of                MISSOURI
(identify the person or describe the property to be searched and give its location):



                                                                         See Attachment A



        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the. person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):


                                                                             See Attachment A




        YOU ARE COMMANDED to execute this warrant on or before                    July 23, 2018        (not to exceed 14 days)
      ~ in the daytime 6:00 a.m. to 10:00 p.m. 0 at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.                                                             ·
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to          United States Magistrate Judge Noelle C. Collins
                                                                                                       (United States Magistrate Judge)

      0 Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     0 for _ _ days (not to exceed 30) 0 until, the facts justifying, the I


Date and time issued:           7./q /zo1~&3:30PM
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City and state:              St. Louis, MO                                             Honorable Noelle C. Collins, U.S. Magistrate Judge
                                                                                                             Printed name and title
Case:
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      4:18-cr-00975-CDP-JMB
        4:18-mj-03184-NCC Doc.
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                               #: #:1043-2
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                                            *SEALED*
                                               01/18/19 Filed:
                                                        Page:12/11/18
                                                               2 of 16 PageID
                                                                        Page: #:
                                                                              2 of
                                                                                 3016
                                 PageID #: 117
Case:
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      4:18-cr-00975-CDP-JMB
        4:18-mj-03184-NCC Doc.
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                                            *SEALED*
                                               01/18/19 Filed:
                                                        Page:12/11/18
                                                               3 of 16 PageID
                                                                        Page: #:
                                                                              3 of
                                                                                 3116
                                 PageID #: 118
Case:
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      4:18-cr-00975-CDP-JMB
        4:18-mj-03184-NCC Doc.
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                                                        Page:12/11/18
                                                               4 of 16 PageID
                                                                        Page: #:
                                                                              4 of
                                                                                 3216
                                 PageID #: 119
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      4:18-cr-00975-CDP-JMB
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                                                          Page:12/11/18
                                                                 3
                                                                 5 of 14
                                                                      16 PageID
                                                                          Page: #:
                                                                                5 of
                                                                                   3
                                                                                   3316
                                   PageID #: 120
Case:
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      4:18-cr-00975-CDP-JMB
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                                                 01/18/19 Filed:
                                                          Page:12/11/18
                                                                 4
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                                                                      16 PageID
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                                                                                6 of
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                                                                                   3416
                                   PageID #: 121
Case:
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      4:18-cr-00975-CDP-JMB
        4:18-mj-03184-NCC Doc.
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                                               01/18/19 Filed:
                                                        Page:12/11/18
                                                               7 of 16 PageID
                                                                        Page: #:
                                                                              7 of
                                                                                 3516
                                 PageID #: 122
Case:
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      4:18-cr-00975-CDP-JMB
        4:18-mj-03184-NCC Doc.
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                                               01/18/19 Filed:
                                                        Page:12/11/18
                                                               8 of 16 PageID
                                                                        Page: #:
                                                                              8 of
                                                                                 3616
                                 PageID #: 123
Case:
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      4:18-cr-00975-CDP-JMB
        4:18-mj-03184-NCC Doc.
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                                               01/18/19 Filed:
                                                        Page:12/11/18
                                                               9 of 16 PageID
                                                                        Page: #:
                                                                              9 of
                                                                                 3716
                                 PageID #: 124
Case:
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      4:18-cr-00975-CDP-JMB
        4:18-mj-03184-NCC Doc.
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                               #: #:1043-2
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                                               01/18/19 Filed:
                                                        Page:12/11/18
                                                               10 of 16 PageID
                                                                         Page: 10
                                                                                #: of
                                                                                   3816
                                  PageID #: 125
Case:
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      4:18-cr-00975-CDP-JMB
        4:18-mj-03184-NCC Doc.
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                               #: #:1043-2
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                                               01/18/19 Filed:
                                                        Page:12/11/18
                                                               11 of 16 PageID
                                                                         Page: 11
                                                                                #: of
                                                                                   3916
                                  PageID #: 126
Case:
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      4:18-cr-00975-CDP-JMB
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                                                                          Page: 12
                                                                                #:
                                                                                 #:10
                                                                                   of
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                                   PageID #: 127
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                                                                          Page: 13
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                                                                                 #:11
                                                                                   of
                                                                                   4116
                                   PageID #: 128
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                                                                                 #:12
                                                                                   of
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                                   PageID #: 129
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      4:18-cr-00975-CDP-JMB
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                                                          Page:12/11/18
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                                                                      16PageID
                                                                         PageID
                                                                          Page: 15
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                                                                                 #:13
                                                                                   of
                                                                                   4316
                                   PageID #: 130
Case:
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      4:18-cr-00975-CDP-JMB
        4:18-mj-03184-NCC Doc.
                            Doc.
                               #: #:1043-2
                                        Filed:
                                            *SEALED*
                                               01/18/19 Filed:
                                                        Page:12/11/18
                                                               16 of 16 PageID
                                                                         Page: 16
                                                                                #: of
                                                                                   4416
                                  PageID #: 131
